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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   CR. F-04-5185 OWW
                                                    )
12                         Plaintiff,               )   ORDER GRANTING GOVERNMENT’S EX
                                                    )   PARTE APPLICATION REGARDING ASSET
13                                                  )   SUBJECT TO FORFEITURE
                                     v.             )
14                                                  )
                                                    )
15   ANABERTHA CASILLAS, et. al.,                   )
                                                    )
16                         Defendants.              )
                                                    )
17                                                  )
18                  IT IS HEREBY ORDERED, that the United States is authorized to submit a
19   Statement of Claim For Excess Proceeds from the foreclosure sale of real property located at 900 W.
20   Canal Drive, Turlock, California, APN:061-042-006 and upon delivery to restrain the proceeds
21   pending the resolution of the criminal forfeiture matter. The proceeds shall be held in the custody
22   and control of the United States Marshals Service pending further order of the Court.
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24   DATED:         July 11, 2005                           /s/ OLIVER W. WANGER
                                                            OLIVER W. WANGER
25                                                          U.S. DISTRICT JUDGE
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